  Fill in this information to identify the case:

  Debtor 1              Jeffrey Michael DeVries
  Debtor 2

  United States Bankruptcy Court for the: Eastern District of Michigan (Detroit)
  Case number           14-48769

 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                          12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal residence,
you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at least 21 days
before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of Creditor: JPMorgan Chase Bank, National Association                            Court claim no. (if known):           37
 Last 4 digits of any number you use to identify                                        Date of payment change:
 the debtor's account:      0912                                                        Must be at least 21 days after date of this notice       09/01/2017
                                                                                        New total payment:
                                                                                                                                                 $1,516.34
                                                                                        Principal, interest, and escrow, if any



 Part 1: Escrow Account Payment Adjustment
   1. Will there be a change in the debtor's escrow account payment?
          No
           Yes      Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law.
                    Describe the basis for the change. If a statement is not attached, explain why:



                             Current escrow payment:            $613.60                         New escrow payment:               $698.18

 Part 2: Mortgage Payment Adjustment
   2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's variable-
   rate account?
           No
           Yes       Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law.
                     If a notice is not attached, explain why:



           Current interest rate:                                                            New interest rate:
           Current principal and interest payment:                                           New principal and interest payment:




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Debtor 1     Jeffrey Michael DeVries                                                Case number (if known)       14-48769


 Part 3:      Other Payment Change
   3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
           No
            Yes       Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
                      modification agreement. (Court approval may be required before the payment change can take effect.)
   Reason for change:


            Current mortgage payment:                                         New mortgage payment:



 Part 4: Sign Here
  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.

  Check the appropriate box:
        I am the creditor.
           I am the creditor's authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information,
  and reasonable belief.
        /s/ Willie Toney                                                     Date 07/27/2017
        Vice President



  Print: Willie Toney                                                        Title Vice President


  Company      JPMorgan Chase Bank, N.A.                                          Specific Contact Information:
  Address      Chase Records Center Attn: Correspondence Mail                     Phone: 866-243-5851
               Mail Code LA4-5555 700 Kansas Lane                                 Email: willie.c.toney@jpmorgan.com
               Monroe, LA 71203




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                            UNITED STATES BANKRUPTCY COURT
                                                      Eastern District of Michigan (Detroit)
                                                                           Chapter 13 No. 14-48769
 In re:                                                                    Judge: Judge Maria L. Oxholm
 Jeffrey Michael DeVries
                                                  Debtor(s).

                                                   CERTIFICATE OF SERVICE
 I hereby certify that this Notice, including all attachments, is being served via filing with the US Bankruptcy Court's CM ECF system on
 July 27, 2017 and/or by providing a copy of this document to a vendor on July 27, 2017 for mailing the same day by U.S. Postal
 Service First Class Mail Postage Prepaid to:

 Debtor:                    By U.S. Postal Service First Class Mail Postage Prepaid:
                            Jeffrey Michael DeVries
                            51820 Rivard Rd.
                            New Baltimore, MI 48047



 Debtor's Attorney:         By U.S. Postal Service First Class Mail Postage Prepaid:
                            James P. Frego, II
                            Frego & Assc.-The Bankruptcy Law Office
                            23843 Joy Road
                            Dearborn Heights, MI 48127


 Trustee:                   By U.S. Postal Service First Class Mail Postage Prepaid:
                            Tammy L. Terry
                            Buhl Building
                            535 Griswold
                            Suite 2100
                            Detroit, MI 48226

                                                                           /s/ Willie Toney
                                                                           Vice President




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